Case 4:07-cv-05944-JST Document 2553-2 Filed 04/30/14 Page 1 of 16




        ATTACHMENT 10
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page1 of 215of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page2 of 315of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page3 of 415of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page4 of 515of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page5 of 615of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page6 of 715of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page7 of 815of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Page
                                                      Page8 of 915of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                          Document1      Filed 04/30/14Page9
                                                         Pageof10
                                                                15of 16
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Pageof1115of 16
                                                      Page10
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Pageof1215of 16
                                                      Page11
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Pageof1315of 16
                                                      Page12
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Pageof1415of 16
                                                      Page13
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Pageof1515of 16
                                                      Page14
CaseCase3:12-mc-80151-RS
     4:07-cv-05944-JST Document 2553-2Filed06/27/12
                         Document1       Filed 04/30/14  Pageof1615of 16
                                                      Page15
